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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                                  §
SAMANTHA TRIMBLE,                                 §
                                                  §
         Plaintiff,                               §
                                                  §
v.                                                §        Civil Action No. 4:14-cv-00868-O
                                                  §
MILLWOOD HOSPITAL,                                §
                                                  §
         Defendant.                               §
                                                  §

                                              ORDER

         Before the Court are Plaintiff’s Motion for Reconsideration (ECF No. 82), filed April 1,

2016; Defendant’s Response (ECF No. 83), filed April 7, 2016; Plaintiff’s Reply (ECF No. 84), filed

April 10, 2016; and Defendant’s Sur-Reply (ECF No. 87), filed May 4, 2016. Having considered

the Motion, the briefing, and the applicable legal standards, the Court finds that the Motion should

be and is hereby GRANTED in part and the Court RESERVES ruling in part.

I.       PROCEDURAL BACKGROUND

         The Court assumes the parties’ familiarity with the facts underlying this case. On March 4,

2016, the Court granted Defendant’s Motion to Dismiss for Failure to Comply with Texas Civil

Practice & Remedies Code § 74.351 and Motion for Summary Judgment (ECF No. 37). Order, Mar.

4, 2016, ECF No. 80. Thereafter, the Court issued its final judgment. ECF No. 81. Samantha

Trimble (“Trimble”) timely filed the instant Motion for Reconsideration on April 1, 2016. See ECF

No. 82. The motion is fully briefed and ripe for review.

II.      LEGAL STANDARD
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       A motion to reconsider a judgment or order is generally analyzed under Rule 59(e) or Rule

60(b). Brush v. Wells Fargo Bank, N.A., 911 F. Supp. 2d 445, 479 (S.D. Tex. 2012) (citing Hamilton

Plaintiffs v. Williams Plaintiffs, 147 F.3d 367, 371 n.10 (5th Cir. 1998)). When a motion for

reconsideration is filed within 28 days after the entry of the order, the motion is treated as though

it were filed under Rule 59. Demahy v. Schwarz Pharma, Inc., 702 F.3d 177, 182 n.2 (5th Cir. 2012)

(citing Tex. A&M Research Found. v. Magna Transp., Inc., 338 F.3d 394, 400 (5th Cir. 2003)).

Here, Trimble’s motion was filed inside of the applicable 28 day time frame, and therefore, the Court

will analyze Trimble’s motion under Rule 59(e).

       Pursuant to Rule 59 of the Federal Rules of Civil Procedure, “[m]otions for a new trial or to

alter or amend a judgment must clearly establish either a manifest error of law or fact or must present

newly discovered evidence.” Simon v. United States, 891 F.2d 1154, 1159 (5th Cir. 1990) (citations

omitted). Such motions may not be used to relitigate issues that were resolved to the movant’s

dissatisfaction. Forsythe v. Saudi Arabian Airlines Corp., 885 F.2d 285, 289 (5th Cir. 1989).

Generally, a Rule 59 motion may not be used to raise arguments or present evidence that could have

been presented prior to entry of judgment. See Simon, 891 F.2d at 1159. Under extraordinary

circumstances, a court may entertain a motion for reconsideration in the light of evidence not in the

summary judgment record. Templet v. HydroChem, Inc., 367 F.3d 473, 479 (5th Cir. 2004).

However, an unexcused failure to present evidence available at the time of summary judgment

provides a valid basis for denying a subsequent motion for reconsideration. Id. Considerable

discretion is granted to district courts in deciding whether to grant or deny a motion to alter a

judgment. Hale v. Townley, 45 F.3d 914, 921 (5th Cir. 1995). In exercising this discretion, a district

court must “strike the proper balance between the need for finality and the need to render just


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decisions on the basis of all the facts.” Id. Further, the Fifth Circuit has observed that Rule 59(e)

“favor(s) the denial of motions to alter or amend a judgment.” S. Constructors Grp., Inc. v.

Dynalectric Co., 2 F.3d 606, 611 (5th Cir. 1993); see also Templet v. Hydrochem Inc., 367 F.3d 473,

479 (5th Cir. 2004).

II.      ANALYSIS

         Trimble raises four grounds for reconsideration of the Court’s Order granting summary

judgment. Because the Court finds that reconsideration is appropriate but additional briefing is

required, the Court GRANTS the motion in part and RESERVES ruling in part.

         A.     Section 74.351 Applies to this Action.

         First, Trimble urges the Court to reconsider its conclusion that Texas Civil Practice &

Remedies Code § 74.351 applies in federal court and bars her health care liability claims including

those for negligence, gross negligence, false imprisonment, under Chapter 321, and under the Texas

Health Code. Mot. Reconsid. 7, ECF No. 82. On May 19, 2016, the Fifth Circuit released its

opinion in Passmore v. Baylor Health Care System, No. 15-10358 (5th Cir. May 19, 2016) (slip op.).

The Fifth Circuit held that § 74.351 collides with Federal Rules of Civil Procedure 26 and 37 and

therefore does not apply in federal court. Id. at *2. Thus, the Court reconsiders its grant of summary

judgment on this ground. However, additional briefing is required to determine whether summary

judgment is appropriate in light of Trimble’s failure to designate experts to testify to standard of care

and liability. Accordingly, the Court ORDERS Defendant Millwood Hospital (“Millwood”) to brief

which, if any, of Trimble’s claims require expert testimony to establish causation on or before June




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15, 2016. Trimble may file a response on or before June 20, 2016, and Millwood may file a reply

on or before June 24, 2016.

       B.      The Court Reconsiders Its Grant of Summary Judgment on Trimble’s
               Rehabilitation Act Claim.

       Trimble argues that “the Court erred by dismissing [her] Rehabilitation Act Claim.” Mot.

Reconsid. 9, ECF No. 82 (capitalization omitted).         Here, Trimble highlights an inference

impermissibly drawn in the movant’s favor on summary judgment. Trimble correctly argues that,

under the summary judgment standard, the Court may draw in her favor the inference that Millwood

falsified her medical records and committed other alleged omissions because of her qualifying

disability. See id. ¶¶ 32–33. Accordingly, Trimble has shown a manifest error of law at this stage

of the proceedings and the Court GRANTS her motion on this ground.

       The Court previously found that Trimble created a genuine dispute of material fact as to her

qualifying disability and intentional discrimination under the Rehabilitation Act. Order 19–20, Mar.

4, 2016, ECF No. 80. Having concluded that Trimble created a genuine dispute of material fact as

to the basis of this discrimination, the Court finds that summary judgment should be and is hereby

DENIED as to her Rehabilitation Act discrimination claim. See Bennett-Nelson v. La. Bd. of

Regents, 431 F.3d 448, 454–55 (5th Cir. 2005). However, the Court will not reconsider its finding

of no genuine dispute of material fact as to Trimble’s accommodation claim under the Rehabilitation

Act, as she failed to provide evidence of reasonable accommodation and has not identified a manifest

error of law in this regard. See id.

       If Trimble’s Rehabilitation Act discrimination claims requires expert testimony to establish

Millwood’s liability, it should be briefed with the remaining claims.

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IV.     CONCLUSION

        Based on the foregoing analysis, Trimble’s Motion for Reconsideration of Court’s Order

(ECF No. 82) is GRANTED in part and the Court RESERVES ruling in part. Millwood must brief

which, if any, of Trimble’s claims require expert testimony to establish causation on or before June

15, 2016. Trimble may file a response on or before June 20, 2016, and Millwood may file a reply

on or before June 24, 2016. The Court sets this cause for jury trial beginning on July 25, 2016 at

9:00 a.m. It is FURTHER ORDERED that the parties must confer and submit for approval a Joint

Status Report including a proposed Scheduling Order and any remaining pretrial deadlines1 that

accommodates the July 25, 2016 trial setting. The Joint Status Report must be submitted on or

before June 12, 2016.

        SO ORDERED on this 6th day of June, 2016.



                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE




        1
          These deadlines include but are not limited to pretrial materials exchange deadlines (witness lists,
exhibit lists), the filing of pretrial motions, a proposed jury charge, and optional trial briefs. See Sched.
Order ¶¶ 7–11, ECF No. 16.

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